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                          UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 IN RE: Troy Cochran
 Tyra Cochran                                                                    Chapter 13
                                   Debtor(s)

 Nationstar Mortgage LLC
                                   Movant                                   NO. 16-12987 MDC
                vs.

 Troy Cochran
                                                                           11 U.S.C. Section 362
 Tyra Cochran
                                   Debtor(s)

 and William C. Miller Esq.
                                   Trustee


                                      CERTIFICATION OF DEFAULT

       I, Rebecca A. Solarz, Esquire, attorney for Movant, certify that Debtor(s) have defaulted upon the
 terms of the Stipulation. It is further certified that the attached notice dated January 21, 2020 was served
 upon the Debtor(s) and Debtor’s Attorney on said date. Subsequent to said notice, the Debtor(s) have
 failed to cure the default. Accordingly, the Court shall enter the attached Order granting the Movant
 relief from the automatic stay.



                                                       /s/ Rebecca A. Solarz, Esquire
                                                       Rebecca A. Solarz, Esquire
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 February 12, 2020
